                                                                                                           Form:odirfrmi

                                  UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Michigan
                                           211 West Fort Street
                                             Detroit, MI 48226


                                            Case No.: 19−44713−mlo
                                                  Chapter: 7
In Re: (NAME OF DEBTOR(S))
   Sean Patrick Kane
   441 Cherry St
   Manitou Beach, MI 49253
Social Security No.:
   xxx−xx−9111
Employer's Tax I.D. No.:


       ORDER DIRECTING THE FILING OF OFFICIAL FORM(S) BY INDIVIDUAL DEBTOR(S)

On 3/29/19 a voluntary/involuntary petition for relief under Title 11 United States Code was filed. The following
documents were not submitted on the most current or correct official form as mandated by the Judicial Conference of
the United States:

     Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy (Revised on 12/17) (Cover Sheet
     for Amendment must be filed with Petition)
     Official Form 105 Involuntary Petition Against an Individual (12/15)
     Official Form 103A Application for Individuals to Pay the Filing Fee in Installments (Revised on 12/15)
     Official Form 103B Application to Have the Chapter 7 Filing Fee Waived (Revised on 12/15)
     Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information (Revised on
     12/15)
     Official Forms Schedules A−J (Revised on 12/15)
     Official Form 106A/B Schedule A/B Property (12/15)
     Official Form 106C Schedule C The Property You Claim as Exempt − Debtor (Revised on 04/19)
     Official Form 106C Schedule C The Property You Claim as Exempt − Joint Debtor (Revised 04/19)
     Official Form 106D Schedule D Creditors Who Have Claims Secured by Property (Revised on 12/15)
     Official Form 106E/F Schedule E/F Creditors Who Have Unsecured Claims (Revised on 12/15)
     Official Form 106G Schedule G Executory Contracts and Unexpired Leases (Revised on 12/15)
     Official Form 106H Schedule H Your Codebtors (Revised on 12/15)
     Official Form 106I Schedule I Your Income (Revised on 12/15)
     Official Form 106J Schedule J Your Expenses (Revised on 12/15)
     Official Form 106J−2 Schedule J−2 Expenses for Separate Household of Debtor 2 (12/15)
     Official Form 106Dec Declaration About an Individual Debtor's Schedules (Revised on 12/15)
     Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy (Revised on 04/19)
     Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 (Revised on 12/15)
     Official Form 410S1 Notice of Mortgage Payment Change (12/15)
     Official Form 410S2 Notice of Postpetition Mortgage Fees, Expenses, and Charges (Revised on 12/16)
     Official Form 122A−1 Chapter 7 Statement of Your Current Monthly Income (Revised on 12/15)

        19-44713-mlo       Doc 15      Filed 04/15/19      Entered 04/15/19 14:38:58         Page 1 of 2
     Official Form 122A−2 Chapter 7 Means Test Calculation (Revised on 04/19)
     Official Form 122B Chapter 11 Statement of Your Current Monthly Income (12/15)
     Official Form 122C−1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment
     Period (12/15)
     Official Form 122C−2 Chapter 13 Calculation of Your Disposable Income (Revised on 04/19)
     Official Form 423 Certification About a Financial Management Course (Revised on 12/15)
     Official Form 104 List of Creditors Who Have the 20 Largest Unsecured Claims Against You and Are Not
     Insiders (12/15)
     Official Form 427 Cover Sheet for Reaffirmation Agreement (Revised 12/15)
     Official Form 417A Notice of Appeal and Statement of Election (12/18)
IT IS ORDERED THAT the above named debtor(s) file the most current and correct official form in its entirety, no
later than fourteen (14) days from the date of the entry of this order.

IT IS FURTHER ORDERED THAT if the debtor(s) fails to timely file the most current and correct official form,
the pleading may be stricken or this case may be dismissed without a hearing.


Dated: 4/15/19
                                                                BY THE COURT

                                                                /s/ Maria L. Oxholm
                                                                Maria L. Oxholm
                                                                United States Bankruptcy Judge




        19-44713-mlo       Doc 15     Filed 04/15/19     Entered 04/15/19 14:38:58         Page 2 of 2
